           Case 3:24-bk-00496-BAJ     Doc 53-27     Filed 04/04/24   Page 1 of 3




                                 EXHIBIT COVER SHEET



                                                                             Exhibit

Party Submitting:     Mary Ida Townson, U.S. Trustee for Region 21


Admitted:             YES        or NO        (circle one)                     191


Chapter 11 Debtor:    Genie Investments NV, Inc.


Case No.              3:24−bk−00496−BAJ


Nature of Hearing:    Trial on

                      U.S. Trustee’s Motion to Appoint Chapter 11
                      Trustee, or, in the Alternative, Appoint
                      Examiner, Dismiss Case, or Convert Case to
                      Chapter 7 (Doc. No. 20)

                      Debtor’s Response Thereto (Doc. No. 34)

                      U.S. Trustee’s Reply (Doc. No. 38)

Trial Date:           April 9, 2024, at 9:00 a.m.




                            United States Bankruptcy Court
                               Middle District of Florida

                     Dated: ___________________________, 2024.


                     By: _______________________, Deputy Clerk
           Case 3:24-bk-00496-BAJ                 Doc 53-27            Filed 04/04/24            Page 2 of 3


From:           Preet Patel
To:             Walt Trock; Michael Lanza
Cc:             Rene Jamulitrat; Shailesh Patel; Aditi Patel; vinaypatel@sbmhospitality.com; Morris, Benjamin J.; Cade, Steve
Subject:        Re: Update.
Date:           Friday, October 20, 2023 9:56:47 AM


** EXTERNAL EMAIL MESSAGE **
Understood. Not sure what the hold up was in getting these documents sooner to us but your
swift response and transfer of documents to us is appreciated and imperative. Please send it to
our legal team as soon as you possibly can, I have cc’d our attorneys.

Regards,
Preet S. Patel M.D.


Duke University Medical Center
Department of Interventional Radiology - 2028
#: 605-321-3072 | Pager: 206-9356


From: Walt Trock <wtrock@mcmanncapital.com>
Sent: Friday, October 20, 2023 9:37:58 AM
To: Preet Patel <preet.patel@duke.edu>; Michael Lanza <mlanza@mcmanncapital.com>
Cc: Rene Jamulitrat <rjamulitrat@mcmanncapital.com>; Shailesh Patel <harihar_inc@hotmail.com>;
Aditi Patel <adi.s.patel03@gmail.com>; vinaypatel@sbmhospitality.com
<vinaypatel@sbmhospitality.com>
Subject: Re: Update.

We are treating this situation with the upmost concern. In our prior experience with Genie
Investments McMann Commercial has had 5 requests for BELOC terminations along with a
full ICA deposit being returned to the applicants.

You can understand our concern when Genie Investments violated their ICA deposit returns
last Friday. McMann is working diligently to have SWK Attorneys take possession and
extend to you the original Genie Investments docs that support the extension of the Genie
Investments loan and terms with McMann Commercial.

Some of the original documents for North Haven and Wallingford are with the administrator
on their work desk computer so this detailed information will not be available till later today.
At that time McMann we will be able to deliver to SWK all the Genie support docs that you
are requesting. This means SWK has some but not all and we have every expectation to fill in
the gaps during this workday.

Aa we have discussed our best opportunity of obtaining your full $3.6M ICA depsoit refund is
to file jointly against Genie Investments. This joint action will save us both time and cost in
getting the safe return of your funds.

Sincerely
          Case 3:24-bk-00496-BAJ          Doc 53-27      Filed 04/04/24     Page 3 of 3


Walt Trock
McMann Commercial Lending

Get Outlook for iOS

From: Preet Patel <preet.patel@duke.edu>
Sent: Tuesday, October 17, 2023 7:59:41 PM
To: Michael Lanza <mlanza@mcmanncapital.com>
Cc: Rene Jamulitrat <rjamulitrat@mcmanncapital.com>; Walt Trock <wtrock@mcmanncapital.com>;
Shailesh Patel <harihar_inc@hotmail.com>; Aditi Patel <adi.s.patel03@gmail.com>;
vinaypatel@sbmhospitality.com <vinaypatel@sbmhospitality.com>
Subject: Re: Update.

Hey Michael,

Connecting you with the rest of our team - they should be available at any time tomorrow, I
will let Shailesh let you know and will have one of our attorneys on as well.

As I'm sure you know this is quite a serious situation we are in and there is a lot to untangle
but paramount is your agreement with Genie and us and how our refund is expected to take
place

Regards,
Preet S. Patel M.D.


#: 605-321-3072 | Pager: 206-9356


From: Michael Lanza <mlanza@mcmanncapital.com>
Sent: Tuesday, October 17, 2023 8:49:02 PM
To: Preet Patel <preet.patel@duke.edu>
Cc: Rene Jamulitrat <rjamulitrat@mcmanncapital.com>; Walt Trock <wtrock@mcmanncapital.com>
Subject: Update.

My apologies for the late email. My boss , Walter Trock who you have been speaking with, asked me
to touch base regarding status. He said you had expressed interest in working with us and our
attorneys to allow us to help recover your funds. Please advise when a good time is to talk tomorrow
and the best number to reach you on. Thanks, and look forward to speaking with you.



Michael J. Lanza
Direct 321-295-4808
Office 800-616-7276
Senior Commercial Loan Officer

mcmanncapital.com
